         1                                                                           HONORABLE BRIAN D. LYNCH

         2                                              HEARING DATE: WEDNESDAY, DECEMBER 18, 2019
                                                        HEARING TIME: 9:00 A.M.
         3                                              LOCATION: TACOMA, COURTROOM I
                                                        RESPONSE DATE: WEDNESDAY, DECEMBER 11, 2019
         4

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         8                                     UNITED STATES BANKRUPTCY COURT
                                               WESTERN DISTRICT OF WASHINGTON
         9
                 In re
       10                                                                  No. 18-41324-BDL
                 PUGLIA ENGINEERING, INC.,
       11                                                                  FIRST AND FINAL APPLICATION FOR
                                                 Debtor.                   COMPENSATION BY DEVITT D.
       12                                                                  BARNETT, SPECIAL COUNSEL

       13                   Devitt D. Barnett and Thorson Barnett & McDonald PC, (no longer in existence) were

       14        appointed as Special Counsel to Puglia Engineering, Inc., debtor in the above-captioned bankruptcy,

       15        makes this interim application (“Application”) for compensation and reimbursement for services

       16        rendered and expenses incurred in this case for the time period of April 14, 2018 through February,

       17        2019, as detailed on Exhibit A hereto, respectfully requests this Court enter an Order allowing it fees

       18        in the amount of $13,517.01 and costs in the amount of $33.76, for a total award of $13,550.77. In

       19        support of this Application, Devitt D. Barnett (the former president of Thorson Barnett & McDonald

       20        PC.) represents as follows:

       21                   1.     Order Authorizing Employment. On July 28, 2018, the Court entered an order

       22        authorizing the Debtor to employ Mr. Barnett and Thorson Barnett & McDonald PC. to provide the

       23        Debtor with legal services effective as of August 17, 2018 (Docket No. 355).

                                                                                             B USH K ORNFELD            LLP
                 FIRST AND FINAL APPLICATION FOR COMPENSATION                                         LAW OFFICES
                 BY THORSON BARNETT & MCDONALD PC. SPECIAL                                       601 Union St., Suite 5000
                                                                                              Seattle, Washington 98101-2373
                 COUNSEL – Page 1                                                                Telephone (206) 292-2110
                                                                                                 Facsimile (206) 292-2104
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         1                  2.   Amounts Received from Prior Fee Applications. Neither Mr. Barnett, nor Thorson

         2       Barnett & McDonald PC., has previously applied for compensation or reimbursement of expenses in

         3       the case. Pursuant to the procedures set forth in the Order Establishing Procedures for Interim

         4       Payment of Fees and Costs to Professionals (Dkt. No. 345) Thorson Barnett & McDonald PC. has

         5       received 80% of its fees and 100% of its costs for the time period of August 18 – November 2018 in

         6       the total amount of $9,023.37.

         7       .          3.   Amount of Fees and Costs Currently Requested. Devitt D. Barnett (formerly

         8       withThorson Barnett & McDonald PC.) brings this Application for interim approval of the funds

         9       received, and award of the remaining unpaid fees and costs of $4,527.40.

       10                   4.   Source of Payment for Requested Compensation. Devitt D. Barnett seeks

       11        compensation from the unencumbered funds of the estate.

       12                   5.   Summary of Services Provided for the Benefit of the Estate. Devitt D. Barnett and

       13        Jeffrey C. Curnutt provided legal services and counsel to Mr. Jim Day throughout the bankruptcy

       14        process involving "ERISA" and "Withdrawal Liability" advice concerning "controlled group liability"

       15        and "successor liability" for the parties involved in the ownership and existing structure of the entities

       16        in the bankruptcy, and an overall review and subsequent advice regarding issues pertaining directly to

       17        the "acquisition" of entities by the parties involved in the bankruptcy. Advice also included a

       18        comparison of exceptions available under ERISA/MPPAA 4225 for an "asset sale" vs other sales

       19        techniques, and the resulting impact on withdrawal liability. Both Mr. Barnett and Mr. Curnutt were

       20        asked to review and complete legal research of case authority on withdrawal liability issues, and

       21        discus the cases with Mr. Jim Day in order to assist him in formulating ideas for resolving the

       22        bankruptcy issues under consideration.

       23

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         1       A complete and detailed account of the services rendered and fees and costs incurred is attached

         2       hereto as Exhibit A.

         3                  6.     Tasks remaining and Projection of Future Fees and Expenses.

         4                  7.     The services provided and costs incurred on Exhibit A were performed on behalf of the

         5       Debtor and not on behalf of a creditor or other entity herein.

         6                  8.     Pursuant to 11 U.S.C. § 504, Devitt D. Barnett (former President of Thorson Barnett &

         7       McDonald PC.) will not share such compensation or reimbursement of expenses applied for herein

         8       with any other person or firm.

         9                  DATED this 25th day of November, 2019.

       10                                                       DEVITT D. BARNETT

       11
                                                                 By /s/ Devitt D. Barnett
       12                                                           Devitt D. Barnett, former president of Thorson
                                                                    Barnett & McDonald, P.C.
       13

       14                                                     DECLARATION

       15
                            I am one of the professionals responsible for the services rendered the Debtor in the above-
       16
                 captioned bankruptcy. I have personal knowledge of the facts stated herein, and I am competent to
       17
                 testify to them. I make this affidavit in conformance with applicable sections of the Bankruptcy Code
       18
                 and Federal and Local Rules of Bankruptcy Procedure. I am the former President of Thorson Barnett
       19
                 & McDonald PC, (no longer in existence) previously located at 3315 Two Union Square, Seattle
       20
                 Washington 98101. I was the primary ERISA lawyer handling the Puglia matter, and was also
       21
                 assisted by Jeffery Curnutt in providing ERISA advice in the bankruptcy case that is the subject of
       22
                 these pleadings. I resigned from the Law Firm effective September 30, 2019, and have sole
       23

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         1       possession of all files relating to the Puglia matter, and am the only individual with authority to

         2       negotiate, compromise and/or settle any outstanding invoices on legal services rendered by myself and

         3       Mr. Curnutt. Further, I also confirm that Mr. Curnutt has been fully compensated for all legal services

         4       he provided in this matter, and the residual billing, if any, on accumulated invoices is attributable to

         5       work for which I was the controlling/responsible attorney. No other former attorney at Thorson

         6       Barnett & McDonald PC performed any legal services on the Puglia matter, and no other attorney has

         7       authority to negotiate, compromise and/or settle any outstanding invoices relating to the Puglia matter.

         8       Once payment is settled, and residual amounts should be sent c/o Devitt D. Barnett 1201 Pacific

         9       Avenue, Suite 1200, Tacoma, Washington 98402.

       10                   I declare under penalty of perjury under the laws of the State of Washington that the foregoing

       11        is true and correct.

       12                   DATED this 25th day of November, 2019.

       13                                                        By /s/ Devitt D. Barnett
                                                                    Devitt D. Barnett
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